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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

Theresa Kirkham,
                                                     CIVIL ACTION NO. 1:15-cv-01136-
                  Plaintiff,                         MHC

v.

GENTIVA HEALTH SERVICES, INC.,

                  Defendant.


            NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO
                       FED.R.CIV.P. 41(a)(1)(A)(i)

            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff Theresa Kirkham, by and through counsel, hereby gives

notice that the above-captioned action is voluntarily dismissed, without

prejudice against Defendant Gentiva Health Services, Inc.



Respectfully submitted,

June 29, 2015

                                            By: /s/ Gilda A. Hernandez
                                            Gilda A. Hernandez
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                          CERTIFICATE OF SERVICE
            I do hereby certify that on June 29, 2015, I caused the foregoing

NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED.R.CIV.P.

41(a)(1)(A)(i) to be electronically filed with the Clerk of the Court using the

CM/ECF system which will send notification of such filing to those

registered as CM/ECF participants.

                                         Respectfully submitted,

                                         By: /s/ Gilda A. Hernandez
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